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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           WAYCROSS DIVISION

UNITED STATES OF AMERICA                     )
                                             )     Indictment No:
vs.                                          )     5:21-cr-009-20
                                             )
BRETT DONAVAN BUSSEY,                        )
                                             )
            Defendant.                       )

      DEFENDANT BUSSEY’S OBJECTIONS TO THE MAGISTRATE
      JUDGE’S REPORT AND RECOMMENDATION DENYING HIS
           MOTION TO SUPPRESS WIRETAP EVIDENCE

      Brett Bussey, files this, his Objections to the Magistrate Judge’s Report and

Recommendation Denying his Motion to Suppress Wiretap Evidence, doc # 1202,

and shows this Court the following:

      I.    Standard of Review.

      A district court considers de novo any objection to a Magistrate Judge's

Report and Recommendation. “The district judge may accept, reject, or modify the

recommendation, receive further evidence, or resubmit the matter to the

magistrate judge with instructions.” Fed. R. Crim. P. 59(b)(3).

      A district judge has a duty to conduct a “careful and complete” review of a

Magistrate Judge's Report and Recommendation. United States v. Wainwright,

681 F.2d 732, 732 (11th Cir. 1982) (per curiam) (quoting Nettles v. Wainwright,

677 F.2d 404, 408 (5th Cir. Unit B 1982)). This review may take different forms,

however, depending on whether there are objections to the Report and

Recommendation. The district judge must “make a de novo determination of those

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portions of the [Report and Recommendation] to which objection is made.” 28

U.S.C. § 636(b)(1)(C). After conducting a complete and careful review of the Report

and Recommendation, the district judge “may accept, reject, or modify” the

magistrate judge's findings and recommendations. 28 U.S.C. § 636(b)(1)(C);

Williams, 681 F.2d at 732.

      II. Procedural History.

      In July 2023, Bussey moved to suppress the wiretap evidence against him,

doc # 651, focusing on the impropriety of the initial application and arguing there

was a lack of probable cause to support the wiretap. Doc # 651, p. 5-22. Bussey

argued that agents obtained his telephone number from a “labor certification [he]

had previously submitted during the investigation,” doc # 651-1 at ¶122, but did

not tie that number to criminal activity. Doc # 651, p. 5-6, 21-22. Indeed, the one

ETA 9142 petition discussed in the affidavit did not reflect illegal activity – as

shown by information that the government had but did not disclose in the affidavit.

Doc # 651, p. 6-7. Bussey asserted, too, that the wiretap application failed to

disclose that he made certain statements to the confidential source (“CS”) detailed

in the application only after the CS had gotten him drunk and other statements

that the affidavit does not accurately represent. Doc # 651, p. 8-10, 12-19. Bussey

discussed the generalized assertions in the application and the omissions about the

CS in the affidavit. Bussey asked the Court to hold a Franks hearing and explained

why the application did not establish probable cause or necessity for a wiretap. Doc

# 651, p 4-5, 19-25.

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      The government responded to Bussey’s Motion, doc # 885, to which Bussey

filed a Reply. Doc # 939.

      In April 2024, a hearing was held on Bussey’s motion, and the Magistrate

held a provisional Franks hearing. Doc # 988, # 1133.

      On January 27, 2025, the Magistrate Judge Recommended that this Court

deny Bussey’s Motion to Suppress the Wiretap Evidence and the request for a

Franks hearing. Doc # 1202. Bussey filed an Unopposed Motion for Extension of

Time in Which to File Objections, doc # 1216, which was granted, doc # 1224,

giving him until February 20, 2025, in which to file objections.

      These Objections timely follow.

      III. Argument and Citation of Authority.

          A. The Magistrate Judge Erred in Concluding that the
             Affidavit’s Unchallenged Portions Establish Probable
             Cause.1

      The Magistrate cites the following “unchallenged portions of the affidavit”

to conclude the affidavit establishes probable cause. Doc # 1202, p. 20.

      -   That the affiant stated there was probable cause to believe Bussey

          committed several target offenses. Id.

      -   As for Bussey’s involvement in the fraudulent petitions, the Magistrate

          writes that it is “undisputed” that Bussey submitted 3 petitions that

          investigators flagged as “potentially” containing fraudulent information




1 Bussey will attempt to follow the Magistrate’s headings for clarity.


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          and that DOS rejected 833 visas associated with his petitions because of

          inaccurate or incomplete information. Id.

      -   That Bussey was linked to other target subjects through phone records

          associated with TTI for whom Bussey prepared multiple H-2A petitions.

          Id. at 20-21, and

      -   That other target subjects committed target offenses, including

          Strickland and Rojas. Id. at 21-22.

      Respectfully, the Magistrate takes the affiant’s conclusions as fact. In

Franks, the Supreme Court made the point that a warrant must contain “particular

facts and circumstances underlying the existence of probable cause, so as to allow

the magistrate to make an independent evaluation of the matter.” United States v.

Franks, 438 U.S. 154, 165 (1978). The Franks Court discussed an example—where

probable cause was premised on an informant’s tip. There, it isn’t sufficient for the

agent just to report that he concluded that the informant was reliable. “If an

informant’s tip is the source of information, the affidavit must recite some of the

underlying circumstances from which the officer concluded that the informant . . .

was credible or his information reliable.” Id.

      In Watts v. Kroczynski, 636F.Supp. 792, 798 (W.D. La. 1986), the court in

considering a motion for return of property, noted that the affidavit failed to assert

facts underlying the affiant’s conclusions that “plaintiffs had probably violated

federal law. . .” The district court concluded that the allegation was a mere



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conclusory statement that gave the magistrate virtually no basis for determining

whether the target offenses had been committed. Id.

      Similarly, here, the Magistrate Judge uses two of the affiant’s conclusions

(that he believed there was probable cause to believe Bussey committed the target

offenses and that 3 petitions of Bussey’s were flagged as potentially containing

fraudulent information) to bolster his conclusions that “unchallenged” portions of

the affidavit establish probable cause.

      And absent those conclusory statements of the affiant to the unchallenged

portions of the affidavit, it does not establish probable cause.

      First, that DOS has refused 833 visas related to Bussey’s petitions because

of inaccurate or incomplete information. Doc # 1202, p. 20.

      Second, that records show Bussey was linked by phone records with “target

subjects” from January 1, 2019, to October 8, 2019. Id. p. 20-21. One of the

individuals identified as a target subject by the Magistrate Judge, Leticia Perez

Quintino, is not identified in the affidavit as a target subject. Doc # 1202, p. 21, ¶6.

The only time her name is mentioned in the affidavit is when it references Bussey’s

calls to her and her subscriber information. Doc # 651-1, ¶131(v, w). Only 2 of the

target subjects mention Bussey and here is what the affidavit provides with respect

to those two specific people:

             • Strickland “is business partners with Bussey and files fraudulent

                petitions for workers to enter the United States under the H-2A

                visa program.” Doc # 1202, p. 20 citing doc 651-1, ¶131 (a -b)

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             • Bussey, as agent, submitted an ETA 9142 electronically; the

                 employer and other details on the form led to Donna Rojas. and led

                 the agent to conclude that two numbers belonged to her. The agent

                 represented that Rojas “is fraudulent [sic] using the H-2A visa

                 program to smuggle Mexican nationals into the United Staes under

                 the pretext of being an agricultural worker.” Doc # 1202, p. 21,

                 citing ¶131(o).

      Taking each of these facts in turn, the affiant does not suggest that the DOS

refusal of 833 visas is an indicia of fraud. As shown below, the Notice of Deficiency

process outlined at 20 C.F.R. 655.141 (a) contemplates the return of applications

with errors or inaccuracies. The single 9142 identified in the affidavit sought

certification for 250 workers, doc # 637-2, p. 22, almost 30 percent of the total

refused visas.

      And, Bussey’s mere contacts with subjects of an investigation are not

sufficient to warrant probable cause. When faced with a warrant application, the

Court must make a practical, common-sense decision whether, given all the

circumstances set forth in the affidavit before him, including the veracity and basis

of knowledge of persons supplying hearsay information, there is a fair probability

that contraband or evidence of a crime will be found in a particular place.” Illinois

v. Gates, 462 U.S. 213, 238 (1983). Affidavits must provide a judge “with a

substantial basis for determining the existence of probable cause,” and “wholly

conclusory statement[s]” are not enough. Id. at 239. A judge’s approval of a

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warrant “cannot be a mere ratification of the bare conclusions of others.” Id.

Setting aside the conclusory allegations that the Magistrate Judge relied upon as

fact, the Magistrate Judge erred in determining that the unchallenged portions of

the affidavit establish probable cause.

          B. The Magistrate Erred in Concluding that the Agent’s
             Reckless Misrepresentations and Omissions Do Not
             Undermine Probable Cause.

      1. The ETA 9142 Certification.2

      The agent summarizes in his affidavit the H-2A program, including Form

ETA 9142. Id. at ¶¶19-31. Despite claiming expertise in investigating similar

matters (the word “experience” is used at least 18 times in the affidavit), the affiant

misrepresents the signing burden of the agent in paragraph 31, omits the relative

responsibilities of the employer and the agent in the provision of information, and

omits the fact that Notices of Deficiency are part of the application process.

      The affidavit claims that the agent’s certification on a Form 9142 contains a

“penalty of perjury” clause. Doc # 651-1, ¶31. It does not. The Magistrate

acknowledges that Bussey has identified a misrepresentation, doc # 1202, p. 23,

but erroneously concludes that because Bussey certifies the information contained

in the application is true and correct, that even if corrected, the misrepresentation

would not undermine probable cause. Id. p. 25-27.



2 As the Magistrate noted, doc # 1202, p. 11, n. 3, Bussey made this argument in a

separate motion to suppress the Microsoft search warrant, doc # 637 and
incorporated those arguments here. We follow the Magistrate’s lead in referencing
the wiretap applications affidavit in the incorporated arguments.
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      For several reasons this analysis is error. First, the Magistrate doesn’t

address Bussey’s argument that it is Form 9142A-Appendix, not ETA Form 9142A

that contains the penalty of perjury clause. Doc # 637, p. 6-7, 12-14. The two forms

at play are significant. The Form 9142A contains no certification clause, no perjury

clause. Yet the affidavit omits and the Magistrate doesn’t address the omission that

“Employers use Appendix A of the Form ETA-9142A to attest that they will comply

with all of the terms, conditions, and obligations of the H-2A program.” Fed. Reg.,

Vol. 84, No. 104 (May 30, 2019) at 25075.

      Second, the employer’s Declaration on Appendix A, occupies almost three

pages, and sets out in detail the responsibilities between the employer and agent.

Doc # 637- 2, p. 33-35. It is the employer, not the agent, who is responsible for the

accuracy of the information in 9142A-Appendix:

       I hereby acknowledge that the agent. . . identified in section E of the Form
       ETA-9142A and section A above is authorized to represent me for the
       purpose of labor certification and, by virtue of my signature in Block 5
       below, I take full responsibility for the accuracy of any
       representations made by my agent or attorney.

Id. p. 35. (emphasis added).3

      Third, it is the employer, not the agent, who signs the form under penalty of

perjury:

       I declare under penalty of perjury that I have read and reviewed the
       application and that to the best of my knowledge the information contained


3 A separate form – USCIS Form I-129 – does require an agent to sign under

penalty of perjury but attests that the employer has reviewed the completed
petition and informed the agent that all of the information on the form and in
supporting documents is complete, true, and accurate. See, doc # 637-2, p. 10.
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         therein is true and accurate. I understand that to knowingly furnish false
         information in the preparation of this form and any supplement thereto or
         to aid, abet, or counsel another to do so is a felony punishable by a
         $250,000 fine or 5 years in the Federal penitentiary or both (18 U.S.C. §
         1001).

Id.

        In factual contrast, the agent’s certification is a single paragraph that states

that:

        I hereby certify that I am an employee, or hired by, the employer listed in
        Section C of the Form ETA-9142A, and that I have been designated by the
        employer to act on its behalf in connection with this application . . . I have
        attached a Letter of Representation from the employer. I also certify that to
        the best of my knowledge the information contained herein is true and
        correct. I understand that to knowingly furnish false information in the
        preparation of this form and any supplement hereto or to aid, abet, or
        counsel another to do so is a felony punishable by a $250,000 fine or 5 years
        in a Federal penitentiary or both (18 U.S.C. § 1001).

Id. at 33 at ¶ A.

        The Magistrate reasons that the distinction between the employer’s

certification and the declaration of the agent doesn’t diminish or eliminate the

agent’s role. Doc # 1202, p. 26. Yet combining the factual misrepresentations and

omissions above demonstrate that the agent was at the very least reckless in his

factual recitation, and if corrected, those facts and omissions would defeat the

showing of probable cause.

           1. The 224 Meadow Road Location.

              (a)    Failure to Describe Other Worksites

        The affiant mentions one Bussey 9142, which listed 224 Meadow Rd, Alma,

Georgia as one of the places of work. Doc # 651-1, ¶43. Although somewhat

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confusingly written, the affidavit states that a letter submitted on behalf of the

grower showed a fixed site address as that listed in the ETA 9142. Id. The affidavit

asserts that grower Burnam signed and dated a letter November 14, 2018. Id. The

affiant states that agents went to 224 Meadow Road, and interviewed the owner

who said he did not request any workers. Doc # 651-1, ¶45.

      Burnam’s “letter,” is in fact a fully executed work contract agreement

between the Farm Labor Contractor (the employer) and Burnam. See, doc # 637-

4, p. 1-3, It is signed by both Burnam and the FLC. It is not signed by Bussey.

      More importantly, omitted from the affidavit is that 224 Meadow Road was

only one of 21 sites where H2A workers would be working. Doc # 637-2, p. 25, 31

at ¶ F.c.7a and Addendum, ¶ F.c.7. The Magistrate discards this omission by stating

that at most disclosure would have shown that there were a number of work sites,

at least one of which was “suspicious.” Doc # 1202, p. 26.

      Probable cause, though, demands more than a mere suspicion, rather, it

requires a fair probability that criminal activity will be found. United States v.

Pulido-Tejedo, No. 4:07-cr-037, 2007 WL 1812654, at *2 (S.D. Ga. June 18, 2007),

report and recommendation adopted, No. 407-cr-037, 2007 WL 2226057 (S.D.

Ga. July 30, 2007); United States v. Tapia, 912 F.2d 1367, 1370 (11th Cir. 1990).

       Bussey understands that it is his burden under Franks to show that an

alleged omission would have prevented probable cause. Doc # 1202, p. 27. A factual

showing that a single property out of the 21 submitted erodes the probable cause.



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            (b)   The Discrepancy Between the GPS Coordinates and
                  224 Meadows Road

      The Burnam contract with N.A., lists 9 worksite field locations for workers.

Location number 1 has GPS coordinates of 31.532389, -82.482599, and an address

of 224 Meadow Road.

      At the time of briefing on this matter, in July 2023, inserting the GPS

coordinates provided by Burnam produced a physical address of 246 Meadows

Road, Alma. A Google Maps search no longer produces that address, but it does

produce a pin drop location, which appears to be directly across the street from

224 Meadows Road. The entire kerfuffle here then appears to be a mistake based

upon someone inserting the GPS coordinates into Google Maps.




      The Magistrate Judge states that Bussey has provided no evidence that GPS

coordinates that almost lineup with the closest street address was a mistake. Doc

# 1202, p. 27. Again, Bussey accepts he has the burden to demonstrate


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misrepresentations and omissions, and he has demonstrated that inserting the

GPS coordinates for worksite 1, provided by Burnam into Google Maps produces

the address of 246 Meadow Road. That is proof regularly accepted by the courts,

and government experts regularly rely on Google Maps. United States v. Duggar,

2022 WL 1647334, (May 24, 2022) (government’s computer expert used Google

Maps to testify about GPS coordinate locations); Pahls v. Thomas, 718 F.3d 1210,

1216 (10th Cir. 2013) (most courts are willing to take judicial notice of geographical

facts and distances from private commercial websites such as MapQuest, Google

Maps, and Google Earth); United States v. McElroy-Carlos, No. CR 2022-0011,

2024 WL 3519141, at *3, n. 2 (D.V.I. July 24, 2024).

      The Magistrate suggests that “if the GPS coordinates were inconsistent with

the street address, that inconsistency would have made the application more

suspicious, not less.” Doc # 1202, p. 27. That conclusion rejects the proof that

inserting the GPS coordinates supplied by Burnam returned a non-existent street

address, but whose pin location is directly across the street from 224 Meadow

Road. While that street address may not have requested workers, Mr. Burnam and

the FLC were requesting workers for the GPS coordinates across the street. The

distance between 224 and the GPS coordinates in the map above is no indicia of

fraud. The Magistrate, therefore, errs in concluding that the omitted information

would not undermine probable cause.

             (c)   Failure to Describe Burnam’s Letter and Investigator
                   Contacts with Burnam


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      The affidavit fails to describe Burnam’s contract with the employer and fails

to disclose that in April 2019, investigators contacted Burnam. A copy of that log

entry is found at doc # 637- 3. It is related to the application attached as Exhibit 2

as it bears the same receipt number – WAC1914050982H2A. Burnam told the

reporting agents about his arrangements with the employer listed on the ETA-9142

form. Id. p. 2. Burnam reported that the employer was one of two contractors he

hired to cover labor needs for 400 acres of blueberry crops spread across 8 farms

in three Georgia counties; that the employer provided and housed the workers. Id.

He relayed no conversations with Bussey.

      As noted above, Burnam’s “letter,” is in fact a fully executed work contract

agreement between the Farm Labor Contractor (the employer) and Burnam. See,

doc # 637-4, p. 3, It is signed by both Burnam and the FLC, not by Bussey. The

Magistrate erroneously concludes that the contract does not aid Bussey’s

argument, doc # 1202, p. 28, n. 15. In fact, the contract between the FLC and

Burnam demonstrates that the GPS coordinates were provided by Burnam to the

FLC because the investigator’s notes do not show any contact between Burnam and

Bussey.

      The Magistrate chides Bussey for this argument concluding that the notes

do not show that Burnam did not talk with Bussey and do not show that all of

Burnam’s contacts were with the employer. Doc # 1202, p. 29. Bussey can’t prove

a negative in the context of the facts here. The facts not disclosed in the affidavit

demonstrate that the contract was between the employer and Burnam. Not Bussey.

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And, the investigator’s notes do not mention any contact between Bussey and

Burnam. The investigator’s notes of his conversation with Burnam do not mention

Bussey at all. The contact was made in April 2019, 6 months before the wiretap

application.

      Under Franks, a defendant may challenge the veracity of an affidavit in

support of a search warrant if he makes a “substantial preliminary showing” that

(1) the affiant deliberately or recklessly included false statements, or failed to

include material information, in the affidavit; and (2) the challenged statement or

omission was essential to the finding of probable cause. United States v. Arbolaez,

450 F.3d 1283, 1293 (11th Cir. 2006).

      Bussey met his burden of showing that the misrepresentation and omission

were recklessly made, and that absent those misrepresentations and omissions

probable cause would have been lacking. The Magistrate erred in concluding

otherwise.

          3.The NOD

      The affiant claimed that NPC emailed Bussey a Notice of Deficiency (“NOD”)

letter about the single petition related to Bussey because the 9142 failed to provide

documentation related to worker transportation, an original surety bond, and a

current hotel inspection. Doc # 651-1, ¶ 44. The agent then states that Bussey

responded via email that “included various documents . . .” Id.

      The Magistrate mistakenly states that the Notice of Deficiency is not a fact.

Respectfully, that is an error. The affiant touts his experience as an agent, notes his

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“consular and immigration training,” and discusses ETA 9142 procedures, in part.

Doc # 651-1, at ¶¶ 19, 23-31. Despite that training and expert, he wrongly alleges

that Bussey signed the petition under penalty of perjury. That is a fact. The 9142

states that in its introductory language:

        . . .In accordance with Federal Regulations, incomplete or obviously
        inaccurate applications will not be certified by the Department of Labor . . .

Doc # 637-2, p 23. That language contained in the introduction to the petition is a

fact.

        The Magistrate states that Bussey is arguing that the affidavit should have

included a “favorable characterization of the NOD process” and that Bussey has

not shown that NOD’s are standard practice. Doc # 1202, p. 30.

        As to the favorable characterization issue - Bussey does not contend that the

affiant must favorably characterize a regulatory scheme. But an agent who claims

an expertise in the regulations and the documents related to that process, should

truthfully state what the documents say, not omit favorable, material facts, and

accurately describe those documents. Here, the agent made misrepresentations or

omissions about Bussey in obtaining a search warrant by suggesting that the

sending of an NOD is a marker of fraud. It is not. And although the agent states

that Bussey sent responsive documents, he omits the fact as to whether those

documents cured the petition.

        As for Bussey’s failure to show that NODs are standard practice, or how they

are applied in practice, Bussey correctly cites the applicable regulation. Doc # 637,


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p. 10. One would suppose that the regulatory scheme set out in the Code of Federal

Regulations accurately describes the process. If a Form 9142 is “incomplete,

contains errors or inaccuracies, or does not meet the requirements set forth in this

subpart,” the agency will notify an employer within 7 business days of receipt and

inform the employer of deficiencies via a Notice of Deficiency. See 20 C.F.R.

§655.31.

      In rejecting Bussey’s argument that these omissions impact the probable

cause analysis, the Magistrate again grasps onto the agent’s conclusion that

“Bussey has filed three fraudulent petitions” as fact. Doc # 1202, p. 30. As

discussed above, the “three fraudulent petitions” is the agent’s conclusion, not fact,

and therefore cannot provide probable cause. Franks, 438 U.S. at 165.

      And as discussed above, the burden is on the employer – not the agent – to

certify the accuracy of ETA Form 9142. There is nothing unusual or illegal about

the NOD process - it is what the documents and regulations provide.

      The Magistrate Judge’s conclusion that the agent’s omissions, if corrected,

would not impact the probable cause determination is, therefore, error.

           4. The CS’s Criminal History.

      The Magistrate concludes that the omissions identified by Bussey do not

undermine probable cause because there was substantial information about the

CS’s criminal history and because nothing in the affidavit “was based on the CS’s

credibility.” Doc # 1202, p. 32.



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      Bussey set forth the troubling facts underlying the CS’s sexual assault

conviction, including the fact that there was also a nolo plea for a sexual assault in

2000, under seal. Doc # 651-7, 8 and 9.

      In concluding that there was sufficient information regarding the criminal

history of the CS, the facts disclosed in the unredacted portion of Mr. Bussey’s

motion to suppress, doc # 651, p. 12, show a shocking abuse of trust by the CS.

      REDACTED AND FILED UNDER SEAL.

      Here, both the CS and the government knowingly exploited Bussey’s

alcoholism by plying him with liquor when he would meet the CS. That fact, of

course, as set forth below, was also concealed from this Court. The CS’s history of

exploitation of the vulnerable impact his credibility and should have been

disclosed.

      As to the credibility of the CS, the Magistrate states that “nothing in the

affidavit was based on the CS’s credibility.” Doc # 1202, p. 32. As discussed below,

the CS, with the government agent’s knowledge, got Bussey drunk at the meeting

despite knowing of his chronic alcohol abuse. On several of those occasions, Bussey

and the CS are clinking glasses, saying cheers more than 5 times. To say that

nothing in the affidavit relies on the CS’s credibility ignores what even the

Magistrate noted was troubling conduct. Doc # 1202, p. 33.

      Of course, that “troubling” conduct was withheld from the Court and if it had

been disclosed, it certainly bears on the credibility of the CS.



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      Therefore, the Magistrate erred in concluding that additional information

about the CS’s criminal history and undisclosed “troubling” conduct would have

undermined probable cause.

         5. The April 30, 2019 Meeting With the CS.

      The government conduct surrounding this meeting is alarming, undermines

probable cause, demonstrates the reckless actions of the agents, and so Bussey sets

them out in detail.

      The affiant writes that “[l]aw enforcement previously directed the CS to

contact Bussey with the agents to discuss the TCO illegal scheme and determine

how the CS could profit from [it].” Doc 651-1, ¶122 But the agent doesn’t reference

the April 30, 2019, meeting in his affidavit.

      That conversation centered around several topics driven by the CS, like his

complaints that his hotel had too many vacant rooms, he was in financial trouble,

and he wanted Bussey’s assistance. See, doc # 651-6. That document number is a

recording of the April 30, 2019 conversation and citations below are to minute,

second time stamps.

      In the meeting, Bussey at first explained what he did and how the process

worked to legally arrange for migrant works from Mexico and Guatemala to come

to Georgia to work in the fields. Id. at 12:41-16:04. Meanwhile, the CS tried to drive

the conversation in the direction of “kickbacks” and “under the table”

arrangements to make money. Id. at 5:56 – 5:58, 8:18 – 8:26, 37:26 – 37:31.



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      Agents knew Bussey was an alcoholic, doc # 1133, 98-99, 156, and knew that

the CS was going to be providing him alcohol during the meeting. Doc # 1133, p.

156:9-24. Those facts do not appear in the affidavit. Id. at 158:2-18.

      The CS tells Bussey at the outset, “I’ve got some Scotch” Id. 3:41 - 3:43.

      Over the course of the meeting that lasted an hour and forty-five minutes,

the CS

      • Says “cheers” 5 times (6:04 – 6:06, 19:26 – 19:28, 49:39 - 49:41, 1:07:44

          – 1:07:47, 1:14:29 – 1:14:31);

      • Encourages Bussey to come back and drink (1:03:38 – 1:03:45); and

      • Urges Bussey to finish his drink and not waste good Scotch (1:38:30 –

          1:38:38).

After the meeting, a female agent tells the CS, “You can’t get him drunk,” and a

male agent remarks that the agency could get into trouble if Bussey were to “kill a

family” driving drunk. Id. at 1:45:48 – 1:45:59. The CS remarks that Bussey is an

alcoholic. Id.

      Early in the conversation on April 30, 2019, before the effects of the alcohol

kick in and the CS has uttered “Cheers” only once, Bussey talks about how he runs

his business. When the CS says he wants to work with Bussey and give him a

“kickback,” Bussey explains his frustration about how farm workers are being held

up at the border, the costs and the process on how the system works legally. Id. at

5:56-8:18. After the CS complains about how his hotel is going under with a

number of unoccupied rooms and mentions “kickback” again, Bussey explains to

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the CS what he needs to do to get started legitimately. Id. at 12:38-16:04. When the

CS wants something “immediately,” Bussey says that he cannot help the CS

because the process takes times and requires all I’s dotted and all T’s crossed for

the paperwork to get accepted. Id. Bussey says things like charging workers is

illegal, (19:40-19:48) he has never charged workers, (16:21-16:21) no one can

enslave workers, (22:46-22:50) and he wants to go to Mexico to facilitate getting

workers into the country legitimately. (27:00-27:15) Bussey says he knows people

who have charged workers (21:20-21:22), but when the CS talks about making

money “under the table,” Bussey responds that he does not know where to recruit

workers in Mexico. Id. at 37:25 – 37:45.

      After an hour of drinking heavily with the CS, Bussey says that the recruiters

do not tell him their secrets, and they just want him to process legitimate

paperwork. Id. at 1:25:00-1:25:11. Bussey also tells the CS that labor camps are

legal if they are inspected 46:18-46:30.

      There is an erosion in the conversation about the half-way point, likely

because of the amount of alcohol. The CS drives Bussey to his car and then meets

with agents, who tell the CS that he cannot get Bussey drunk. Id. at 1:45:48 –

1:45:59. Again, the CS responds to agents by saying that Bussey is an alcoholic. Id.

      The Magistrate writes that Bussey has does not explained how “alcohol

consumption at the meeting would impact the probable cause determination . . . .

[because] Bussey does not suggest, for example, that he said things that were

untrue or exaggerated because he was intoxicated.” Doc # 1202, p. 34. Respectfully,

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that is the entire purpose of Bussey’s careful showing regarding the fact that the CS

plied him with alcohol. The meeting lasted more than hour and 45 minutes and the

CS says “cheers” more than 5 times. Doc # 1133, p. 157:1-5. Bussey was drunk.

Bussey was an alcoholic. The government knew that the CS was going to be serving

an alcoholic alcohol.

         The Magistrate’s conclusion that Bussey has not shown that his statements

were influenced by alcohol disregards the fact that alcohol is well known to impair

the user. The affiant knowingly did not disclose the April 30, 2019 meeting because

it demonstrated the reckless conduct of the CS and agents, and undermined

probable cause. The Magistrate erred in concluding otherwise.

            6. The August 20, 2019 Meeting With the CS.

         The recording of this meeting was submitted to the Court under seal as doc

# 651-10 and we reference the time stamps in the argument below.

         Bussey demonstrated that the affidavit states that Bussey “would deal” with

Gomez. Id. at ¶126(a). When, in fact, he says he “wouldn’t deal” with Gomez. Doc

# 651-10, 41:50-41:54. The Magistrate shirks this misrepresentation off as a “small

discrepancy,” that is not material, doc # 1202, p. 35, because he reasons what

Bussey is really saying is – “I wouldn’t deal with Gomez, if I were you.” Id.

Respectfully, that conclusion of the Magistrate contradicts the plain statement of

Bussey both in this meeting and the October 1 meeting addressed below and is in

error.



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      The Magistrate doesn’t address Bussey showing that the agent’s conclusion

misrepresents the conversation when he writes that “Bussey was explaining that

Gomez would use his employment” as a DOL inspector “to unlawfully approve

housing locations for H-2A workers if they paid him a bribe or kickback.” Doc #

651-1 ¶126(a). That conclusion does not reflect Bussey’s specific statement that he

would not deal with Gomez. That statement is confirmed in the October 1, 2019,

meeting that is also not mentioned in the affidavit, when Bussey repeats about

Gomez, “I don’t trust him any further than I can throw him.” Recording 27:17.

      Bussey then made additional showings of the affiant’s misrepresentations.

In the next paragraph, he states that Bussey knows a “big head honcho guy” in

Mexico and concludes that Bussey “had a recruiter in Mexico.” Id. ¶127(b). Bussey

said, “I haven’t met him.” Recording 45:30.

      The affiant swears that “These workers then pays [sic] Bussey for entering

the United States under the H-2A visa program” ¶127(b))(emphasis added),

Bussey says that the workers pay the crew leaders. Recording 49:03. This is

consistent with what Bussey told the CS in the undisclosed April 30 conversation

– i.e., that crew leaders make thousands charging the workers, which is illegal

(4/30 recording 19:35-19:48) and that Bussey has never charged a worker Id.

at 21:17-21:19. The Magistrate concludes that Bussey describes a criminal scheme

and that the agent’s opinion about payment to Bussey is based on the recording.

Doc # 1202, p. 37. But that conclusion is belied by Bussey’s plain statements on the

recording that the workers pay crew leaders. Recording 49:03.

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      The Magistrate errs in concluding that Bussey has only identified an

immaterial discrepancies that would not undermine probable cause. Doc # 1202,

p. 37-37.

      Bussey does not appeal the Magistrate’s Report and Recommendation about

Donna Rojas or the H2-A petitions addressed at doc # 1202, p. 37 and 38.

      Bussey does, however, appeal the Magistrate’s conclusion that the affiant did

not misrepresent in Paragraph 127 that Bussey used “TTI to arrange for a meeting

between Bussey and the CS.” Doc # 651-1, ¶127. Again, the CS texted Bussey on

August 15, 2019, ¶122, then called him in an unmonitored call contrary to the

agent’s instructions to confirm the meeting. Id. at ¶¶122-23. This is hardly

quibbling. See, doc # 1202, p. 38, n. 20. It is the CS who is contacting Bussey via

text and voice calls, not vice versa. And those undercover contacts from the CS to

Bussey do not establish that Bussey is using his phone to further his involvement

regarding target offense. The Magistrate erred in concluding that this

misrepresentation was not material.

      Bussey, therefore, objects to the Magistrate’s conclusions that he has not

identified material facts that would undermine the finding of probable cause.

            7. The September 30, 2019 Call.

      On September 30, 2019, the CS called Bussey at the direction of agents, and

they spoke for nearly 13 minutes. Doc # 651-1, ¶128. The affidavit describes

Bussey’s going to the U.S. consulate in Mexico and then concludes that Bussey

“explain[ed] that he went to the consulate office in Mexico to meet with individuals

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to try to push his fraudulent H-2A petitions through without officials denying

visas.” Id. at ¶129(a). There is nothing in Bussey’s excerpted statements that

support this conclusion. And other than the allegations in ¶¶41-45, there is nothing

in the affidavit about any specific petitions, much less fraudulent ones.

      A proper reading of what Bussey says is that he tried to put a face with a

name to improve the success of his petitions, which were legally submitted. This is

bolstered by a meeting between the CS and Bussey the next day (October 1, 2019),

where Bussey told the CS (55:35) about the meeting at the consulate and “sold

himself” to the officials by explaining “all the rules and regulations” that he follows.

      In fact, there is a memorandum of interview from that September 10, 2019

meeting with Bussey by an Agent with the State Department that memorializes the

meeting at the U.S. Consulate in Monterrey, Mexico. Doc # 651-11. That

memorandum states that Bussey requested the meeting to discuss the status of

several H2 petitions. Bussey discussed his concern over some terminology used

(administrative processing) as he was new to the process for H2 visas although he

was very familiar with the Foreign Labor Contractor process. Bussey described his

work experience with the Georgia Department of Labor. He stated that he was

unfamiliar with the recruitment process for workers, and stated when asked that

contractors charging workers fees was illegal and that he has never been part of

such a process. The consular officer described the administrative process for

applications and again asked Bussey about charging workers. Bussey again stated



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it was illegal and he had never taken part in doing so. The writer noted that the

interview “ended amicably.”

      The Magistrate views this evidence and concludes that Agent Miranda is

offering his subjective belief and that opinions and conclusions of experienced

agents is a factor in the probable cause equation. Doc # 1202, p. 40. Respectfully,

the Magistrate errs and the citation to Robinson proves the point.

      In Robinson, the agent knew that high-pressure sodium lights were used for

indoor marijuana cultivation and that they consume a large amount of electricity

and radiate considerable heat. United States v. Robinson, 62 F.3d 1325, 1331 (11th

Cir. 1995). The court credited the agent’s experience regarding those investigative

facts and the sound conclusions drawn from those facts.

      Here, the only investigative fact known about Bussey’s trip to the consulate

was that it happened. He speculates that Bussey was taking the trip to “push

through fraudulent H2-A petitions.” And there is nothing in the contemporaneous

interview report to suggest that there was anything untoward about the meeting.

      While not mentioned in the affidavit, the CS met Bussey on October 1, 2019,

the day after this phone conversation. The CS again got Bussey drunk.

      The Magistrate’s conclusion that Bussey has not identified material facts is

in error as is the conclusion that those facts do not undermine probable cause.

      If the Court extracts the misrepresentations and omissions from the

affidavit, it is left with a series of unsupported beliefs. The single example of a

“fraudulent petition” simply isn’t. The CS, who has prior convictions based on

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exploitation, is not reliable, and he exploited Bussey (with the agents’ knowledge

and consent) by getting him drunk. The CS did it in two other recorded meetings,

and it is telling that the 75-minute August 20 meeting cited in the affidavit contains

excerpts beginning at the 41:46-minute mark. Bussey said that he worked alone

and got his money from filling out forms, not that other target subjects were, or

may be, business partners and that he took money from workers, which is what the

affidavit represents. The affidavit describes Bussey as advising the CS to use a

“crooked” labor inspector, when Bussey said several times not to use him. As the

CS presses Bussey for how to engage in illegal activity at the hotel, Bussey suggests

legal solutions, like converting his hotel into a labor camp. The affidavit

misrepresents Bussey’s visit with the Mexican consulate as an attempt to further a

fraudulent scheme, but Bussey himself touted how well the visit had gone because

he knew the “rules and regulations” of the H-2A visa program. The affidavit uses

the recordings by the CS to link the agent’s unsupported beliefs to Bussey, which

is why it was crucial that the affidavit not omit or misrepresent key information.

         8. The Magistrate Did Not Address Bussey’s Argument that
            there was No Probable Cause to Believe his Phone was Used
            to Conduct Criminal Activity.

      The Magistrate did not address Bussey’s argument that there was no

probable cause to believe that Bussey’s phone was being used in criminal activity.

The government discovered Bussey’s phone number from “labor certification

paperwork Bussey had previously submitted during this investigation.” Doc # 651-

1, ¶122. The only “labor certification paperwork” specifically discussed in the

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affidavit (¶¶41-45) does not reflect illegal activity. Every contact during this

investigation was initiated, not by Bussey, but by the CS. The CS complained that

Bussey never answered his phone. Id. at ¶122.

      The affidavit must show that the telephone is routinely relied on to conduct

the criminal enterprise under investigation. United States v. Degaule, 797 F. Supp.

2d 1332, 1354 (N.D. Ga. 2011). It must contain sufficient information so that a

judge could find probable cause to believe that the telephone is being used in an

illegal operation. 797 F. Supp. 2d at 1355; United States v. Domme, 753 F.2d 950,

954 n. 2 (11th Cir. 1985). Here, there were texts from the CS to Bussey on August

15, 2019 to set up a meeting. Id. ¶ 122. The CS called Bussey a few days later in an

unmonitored call. Id. ¶ 123. A meeting took place the next day between Bussey and

the CS. Id. ¶ 126. And, then on September 30, 2019, the CS placed a monitored call

to Bussey. Id. ¶ 128. Those government-initiated calls to Bussey’s phone do not

establish probable cause that the phone is being used to conduct unlawful activity.

      III.    Necessity

      Bussey does not appeal the Magistrate’s Report and Recommendation’s

decision regarding his necessity argument, doc # 1202, p. 42-45, in these

objections.

      IV.     Fruit of the Poisonous Tree.

      The order authorizing this wiretap led to four subsequent wiretap orders. If

Bussey succeeds on this motion, all evidence derived from this wiretap – including



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the evidence obtained in the remaining wiretaps – should be suppressed. See 18

U.S.C. §2518(10)(a); Wong Sun v. United States, 371 U.S. 471 (1963).

      WHEREFORE, Mr. Bussey respectfully requests that based on all the

reasons and authorities cited above, that this Court grant his Objections and

overrule the denial of his Motion to Suppress the Wiretap Evidence.

      This the 20th day of February, 2025.

                                     Withers Law Firm PC


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                             CERTIFICATE OF SERVICE

       The undersigned certifies that I have on this day served all the parties in

accordance with the notice of electronic filing (“NEF”) which was generated as a

result of electronic filing in this court.

       This 20th of February, 2025.

                                             Withers Law Firm PC


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